          Case: 23-1176     Document: 27     Page: 1    Filed: 08/11/2023




                           No. 2023-1176, 2023-1177

                     In the United States Court of Appeals
                             for the Federal Circuit

                             DDR HOLDINGS, LLC,

                                              Plaintiff-Appellant,

                                      v.

                   PRICELINE.COM LLC, BOOKING.COM B.V.,

                                              Defendants-Appellees.

              APPEAL FROM THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
          CASE NOS. 17-498; 17-499, CHIEF JUDGE COLM F. CONNOLLY

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FORM 9.CertificateofInterest                                               Form 9(p.1)
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                  UNITED STATESCOURTOFAPPEALS
                     FOR THEFEDERALCIRCUIT
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 Date:_1_2_/_0_6_/_2_0_2__2______ Signature: /s/JeremyTaylor
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             Case:23-1176
                   23-1176     Document:
                               Document:27
                                         8   Page:
                                             Page:24   Filed:
                                                       Filed:12/06/2022
                                                              08/11/2023



FORM 9.CertificateofInterest                                               Form 9(p.2)
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      1.Represented           2.RealPartyin 3.ParentCorporations
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     Priceline.comLLC                              BookingHoldingsInc.
     Booking.comB.V.                               BookingHoldingsInc.




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 4.LegalRepresentatives.Listalllaw firms,partners,andassociatesthat(a)
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             Case:
             Case:23-1176
                   23-1176        Document:
                                  Document:27
                                            8         Page:
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Form 9. Certificate of Interest

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                Case: 23-1176            Document: 27           Page: 7        Filed: 08/11/2023




                                        TABLE OF CONTENTS
                                                                                                                 Page

STATEMENT OF RELATED CASES .....................................................................1
INTRODUCTION .....................................................................................................1
STATEMENT OF THE ISSUES...............................................................................2
STATEMENT OF THE CASE ..................................................................................2
    I.  Background ...........................................................................................3

         II.      The ’399 Patent .....................................................................................3

         III.     Relevant File History ............................................................................7

         IV.      The Markman Order and Stipulation of Noninfringement ...................9

SUMMARY OF ARGUMENT ...............................................................................14
STANDARD OF REVIEW .....................................................................................15
ARGUMENT ...........................................................................................................16
         I.       The Applicant Acted as Its Own Lexicographer in Redefining the Term
                  “Merchants” in the Nonprovisional and That Redefinition Controls .16

         II.      The District Court Properly Found That DDR Did Not Establish
                  Lexicography for Its Proposed Construction ......................................20

         III.     The District Court’s Construction Is Also Consistent with the Plain and
                  Ordinary Meaning of the Term in Light of Both the Intrinsic and
                  Extrinsic Evidence...............................................................................24

                  A.       The Intrinsic Evidence Confirms That “Merchants” Are
                           Purveyors of Goods or Products, Not Services ........................25

                  B.       The Extrinsic Evidence Supports the District Court’s
                           Construction of “Merchants” ....................................................30

         IV.      The District Court’s Construction of the Term “Commerce Object”
                  Should Also and Separately Be Affirmed ...........................................32

CONCLUSION AND STATEMENT OF RELIEF SOUGHT ...............................35




                                                          -i-
               Case: 23-1176           Document: 27           Page: 8       Filed: 08/11/2023




                                    TABLE OF AUTHORITIES

                                                                                                        Page(s)

CASES

AlterWAN, Inc. v. Amazon.com, Inc.,
   63 F.4th 18 (Fed. Cir. 2023) .........................................................................31, 32

Becton Dickinson & Co. v. C.R. Bard, Inc.,
   922 F.2d 792 (Fed. Cir. 1990) ............................................................................ 28

Bridges v. Wilson,
   996 F.3d 1094 (10th Cir. 2021) .......................................................................... 29

DNA Genotek Inc. v. Spectrum Solutions L.L.C.,
  No. 3:21-CV-00516, 2022 WL 17331255 (S.D. Cal. 2022) .............................. 17

Finjan LLC v. ESET, LLC,
   51 F.4th 1377 (Fed. Cir. 2022) .....................................................................18, 23

In re Paulsen,
    30 F.3d 1475 (Fed. Cir. 1994) ............................................................................ 20

Jack Guttman, Inc. v. Kopykake Enter., Inc.,
   302 F.3d 1352 (Fed. Cir. 2002) ....................................................................21, 23

MPHJ Technology Investments, LLC v. Ricoh Americas Corporation,
  847 F.3d 1363 (Fed. Cir. 2017) ..................................... 10, 16, 17, 18, 19, 20, 23

Phillips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005) (en banc) ..............................................10, 23, 25

Shire Dev’t, LLC v. Watson Pharms., Inc.,
   848 F.3d 981 (Fed. Cir. 2017) ............................................................................ 21

Snyders Heart Valve LLC v. St. Jude Med. S.C., Inc.,
   No. 4:16-cv-00812ALM-KPK, 2017 WL 4867620 (E.D. Tex. 2017) ............... 17

SRI Int’l v. Matsushita Elec. Corp. of Am.,
   775 F.2d 1107 (Fed. Cir. 1985) (en banc) .......................................................... 31

Teva Pharms. USA, Inc. v. Sandoz, Inc.,
   574 U.S. 318 (2015) ......................................................................................15, 28

                                                       -ii-
                Case: 23-1176             Document: 27            Page: 9        Filed: 08/11/2023




Thorner v. Sony Comput. Entm’t Am. LLC,
  669 F.3d 1362 (Fed. Cir. 2012) ........................................................16, 20, 22, 24

United Cannabis Corp. v. Pure Hemp Collective Inc.,
  No. 2022-1363, 2023 WL 3295467 (Fed. Cir. 2023) ......................................... 29

Vasudevan Software, Inc. v. MicroStrategy, Inc.,
  782 F.3d 671 (Fed. Cir. 2015) ............................................................................ 31

STATUTES

28 U.S.C. § 2111 ...................................................................................................... 29




                                                          -iii-
           Case: 23-1176     Document: 27       Page: 10   Filed: 08/11/2023




                      STATEMENT OF RELATED CASES

      Defendants-Appellees Priceline.com, LLC and Booking.com, B.V. file this

Corrected Joint Principal Brief in response to DDR Holdings LLC (“DDR”) appeal

on the ruling of the United States District Court for the District of Delaware entering

Final Judgment against DDR of no infringement in the consolidated cases DDR

Holdings, LLC v. Priceline.com, LLC, 17-cv-498 (D. Del.) (lead case) and DDR

Holdings, LLC v. Booking.com, B.V., 17-cv-499 (D. Del.) (consolidated case).

Appx0001–0002. Defendants-Appellees are not aware of any other appeal in or

from these civil actions or any case pending in this or any other tribunal that will

directly affect or be directly affected by this court’s decision in the pending case.

                                 INTRODUCTION

      When considering the full intrinsic record, the district court’s construction of

the terms “merchants” and “commerce object” was correct. As the district court

rightly found, in the context of the asserted patent and its prosecution history,

“merchants” are not purveyors of services and the “commerce object” associated

with those merchants therefore do not include services. To challenge these

constructions on the intrinsic record, DDR relies exclusively on lexicography,

pointing solely to a few words from a provisional application, while asking the Court

to ignore the applicant’s deletion of those same words in the nonprovisional

application that ultimately issued as the ’399 Patent. The intentional deletion from



                                          -1-
           Case: 23-1176      Document: 27      Page: 11     Filed: 08/11/2023




the nonprovisional application of those words reflects the applicant’s clear intent to

redefine the term. To that, DDR has no response. DDR instead invites the Court to

ignore its own precedent on the significance of differences that exist between

provisional and nonprovisional applications. The district court’s construction—

which stayed true to the applicant’s definition and all of the descriptions and

embodiments in the nonprovisional application—accords as well with the extrinsic

evidence, and DDR identifies no clear error in the district court’s weighing of that

evidence. This Court should therefore affirm.

                         STATEMENT OF THE ISSUES

      1.     Whether the district court’s construction of the term “merchants” was

correct—as “producers, distributors, or resellers of the goods to be sold” and not as

“producers, distributors, or resellers of the goods or services to be sold”—based on

its proper analysis of the intrinsic and extrinsic record.

      2.     Whether the district court’s construction of the term “commerce object”

was correct as “a product, a product category, a catalog, or an indication that a

product, product category, or catalog should be chosen dynamically” and not as “a

product (goods or services), a product category, a catalog, or an indication that a

product (goods or services), product category, or catalog should be chosen

dynamically.”

                           STATEMENT OF THE CASE



                                          -2-
            Case: 23-1176   Document: 27      Page: 12   Filed: 08/11/2023




      I.     Background

      DDR filed a lawsuit in 2017 in the District of Delaware against Priceline.com,

LLC (“Priceline”) and Booking.com, B.V. (“Booking”) (collectively, “Appellees”)

for alleged infringement of U.S. Patent Nos. 7,818,399 (“the ’399 Patent”);

8,515,825 (“the ’825 Patent”); 9,043,228 (“the ’228 Patent”); and 9,639,876 (“the

’876 Patent”) (collectively, the “Asserted Patents”). Appx0044-0055. Appellees

petitioned the Patent Trial and Appeal Board (“PTAB”) for inter partes reviews of

the Asserted Patents.

      By stipulation and accompanying order, the parties agreed to stay proceedings

pending resolution of the patentability issues raised in the IPRs. Appx0028. The

PTAB’s final written decisions invalidated all challenged claims of the ’825, ’288,

and ’876 Patents but rejected the unpatentability arguments raised for the ’399

Patent. Appx0686-0737. In the decision on the ’399 Patent, the PTAB, applying the

broadest reasonable construction standard, construed “merchants” as “producers,

distributors, or resellers of the goods or services to be sold.” Appx0748-0749.

      Following the final written decisions, the district court lifted the stay.

Accordingly, the ’399 Patent remained the only asserted patent, and in accordance

with DDR’s final election of asserted claims, only claims 1, 3, 7, 14, and 16 of the

’399 Patent remained.

      II.    The ’399 Patent



                                        -3-
           Case: 23-1176     Document: 27       Page: 13   Filed: 08/11/2023




      The ’399 Patent is directed towards solving a problem that existed in 1998,

the relevant time period of the claimed invention. At that time, websites often

contained links to other websites to increase visitor traffic; these links, however,

encouraged “people to leave their website” when clicked. Appx0538 (1:35-52). One

drawback of this prior art website linking was that when a visitor clicked on a

product to purchase, the visitor would enter the merchant’s online store and leave

the original host website. Appx0538 (2:34-49).

      The purported solution claimed in the ’399 Patent is to capture and store the

look and feel of the host website, and then generate a third-party website that has the

host website’s look and feel. Appx0539 (3:17-24). Such websites would give the

impression of viewing websites served by the host but were actually third-party

intermediary websites.

      The ’399 Patent identifies at least three actors for this system: (1) the host; (2)

the outsource provider; and (3) the merchant. The first actor, the host, is an operator

of a website with links to commerce objects. Appx0548 (22:46-58). The ’399 Patent

describes a commerce object as “a product, a product category, a catalog or an

indication that a product, product category or catalog should be chosen

dynamically.” Appx0545 (15:17-20). The second actor, the outsource provider, is an

intermediary between the host and merchant and provides a platform for e-

commerce support. Appx0548-0549 (22:60-23:23). The third actor, the merchant, is



                                          -4-
          Case: 23-1176     Document: 27       Page: 14   Filed: 08/11/2023




the provider of the commerce object to be bought. Appx0548 (22:17-42); Appx0550

(claim 1). The subsection of the ’399 Patent titled “Merchants” states that

“[m]erchants are the producers, distributors, or resellers of the goods to be sold

through the outsource provider.” Appx0548 (22:15-18).

      In all instances, the ’399 Patent describes merchants as selling, producing, and

distributing physical goods. For example, the “Background of Invention” section

describes prior art “affiliate programs,” which allow merchants (e.g., Amazon) to

promote their “goods (e.g., 10 of Amazon.com’s millions of books, selected by the

website owner).” Appx0538 (2:12-23). The ’399 Patent also describes, as a benefit

of the affiliate programs, not having to invest in “product inventory.” Appx0538

(2:24-27). The figures of the ’399 Patent also illustrate “products” or “goods” as

physical items. Appx0526 (showing “Celebrate the Seasons!” cookbook (i.e., a

good) offered by “The Dunwoody Gourmet Group”); Appx0530 (showing

“chocolate,” “spreads and associated products,” “seafood and associated products,”

“gift baskets,” “condiments,” “other products,” and “FFGC Super Sampler Gift Set”

(i.e., goods) as the “products offered by Fancy Foods Gourmet Club”)).

      The ’399 Patent further elaborates that the merchants’ “primary

responsibilities . . . are to: [m]aintain an up-to-date catalog within the system

including all products that are available for sale in storefronts served by the

outsource provider.” Appx0548 (22:18-22). Merchants are able to focus on product



                                         -5-
            Case: 23-1176     Document: 27      Page: 15   Filed: 08/11/2023




development, production, and order fulfillment, as well as assemble shipping orders.

Appx0539 (3:4-5), Appx0549 (23:61-63).

        The claims of the ’399 Patent do not recite any of the terms “products,”

“goods,” or “services.” Rather, the claims track the language of the specification,

claiming certain interactions between merchants, outsource providers, and

webpages/hosts. For example, in a scenario described in the ’399 Patent, a customer

on the host’s website becomes interested in a product, selects the product by clicking

an image of the product, and is taken to a webpage having the look and feel of the

host webpage but provided by an outsource provider. Appx0550 (25:1-14).

        Although the claims do not recite “products,” “goods,” or “services,” they do

describe “commerce objects” in the context of merchants. Claim 1, for example,

recites that the “first web page[] displays at least one active link associated with a

commerce object associated with a buying opportunity of a selected one of a plurality

of merchants.” Appx0550 (26:53-56).1

        The specification of ’399 Patent itself makes no reference to buying or selling

services, nor is there any disclosure or suggestion that merchants offer anything

other than goods, otherwise known as products. Appx0548 (“Merchants are the

producers, distributors, or resellers of the goods to be sold through the outsource

provider.”); Appx0548 (“The primary responsibilities of a Merchant are to: Maintain


1
    Emphases added throughout unless otherwise noted.

                                          -6-
             Case: 23-1176   Document: 27      Page: 16   Filed: 08/11/2023




an up-to-date catalog within the system including all products that are available for

sale in storefronts served by the outsource provider.”); Appx0509 (Abstract);

Appx0518 (Fig. 7); Appx0539 (3:1-16); Appx0540-0542 (6:62-9:45); Appx0543

(12:19-23); Appx0544-0546 (13:3-17:59); Appx0547 (20:13-44); Appx0548

(21:18-22:67); Appx0549-0550 (23:24-24:56, 24:58-26:40). When the specification

refers to “services,” it does so only in the context of computer or e-commerce support

“services” running on computer servers or “customer service” functions. See, e.g.,

Appx0548 (21:18-25, 22:33-34).2

      III.    Relevant File History

      The ’399 Patent claims priority to a provisional patent application, Serial No.

60/100,697, filed on September 17, 1998 (the “provisional”). Appx0864. In the

provisional, as in the nonprovisional that issued as the ’399 Patent, the applicant

used the words “goods” and “products” interchangeably, and in parallel instances,

to describe physical goods bought and sold:

          Additionally, through partnerships with self-service solutions providers
           (described above), we will be able to cross-sell additional products and
           services to customers to create enhanced value for Merchants and
           customers while creating incremental revenue sources for Nexchange
           Corporation. Appx0875.

          Selling through Nexchange enables Merchants to increase the gross
           margin on their goods and services, especially compared to the margins

2
 The ’399 Patent references services seventeen times, twice as a verb, and fifteen
other times in the context of computer services running on a server or customer
service or services. Appx0538-0552.

                                         -7-
           Case: 23-1176     Document: 27      Page: 17   Filed: 08/11/2023




             they receive selling through traditional distribution channels such as
             wholesalers and distributors. Appx0876.

           Nexchange Merchants capitalize on the marketing/traffic-building
            expertise of the Hosts while focusing on the quality of their own
            products and services and the profitability of the new online sales
            source. Appx0877.

The provisional also consistently describes “services” as distinct and apart from both

“products” and “goods.” Appx0875; Appx0876; Appx0877. For example, the

provisional describes the ability to “cross-sell additional products and services to

customers” and that using an outsource provider can “increase the gross margin on

their goods and services.” Appx0876; see also Appx0875; Appx0877. Although the

provisional treats goods and products interchangeably, in every instance it

distinguishes “services” from those goods and products. In fact, DDR conceded

during the Markman hearing that the use of the disjunctive in the provisional

(“products or services”) further suggests that “services is not encompassed within

the ordinary meaning of products” because, otherwise, one of the terms would be

rendered redundant. Appx1345-1347 (7:25-9:24).

      Nonetheless, it is this disclosure of “products or services” from the provisional

application that DDR exclusively relies on to support its construction. Appx0876.

For example, the provisional states that “merchants [are] defined as producers,

manufacturers, and select distributors of products or services.” Id. Following the

provisional, the applicant filed a nonprovisional application that ultimately issued as


                                         -8-
            Case: 23-1176     Document: 27     Page: 18   Filed: 08/11/2023




the ’399 Patent. However, instead of adopting the same language for the term

“merchant” set forth in the provisional, the nonprovisonal application redefined

“merchant” as “producers, distributors, or resellers of the goods to be sold through

the outsource provider” in the section titled “Merchants.” Appx0548 (22:15-18).

This redefinition of the term “merchants”—removing services from the definition—

accords with written description of the nonprovisional, which consistently describes

goods as interchangeable with products, both being tangible items, consistent with

the plain and ordinary meaning of “merchant.” Appx0538 (2:12-23, 2:24-27);

Appx0526 (Fig. 15). The nonprovisional never discusses a merchant producing,

distributing, or reselling “services.”

      IV.    The Markman Order and Stipulation of Noninfringement

      During the claim construction hearing, and in a subsequent written order, the

district court construed the term “merchants” as “producers, distributors, or resellers

of goods to be sold” and denied DDR’s proposed construction of the term as

“producers, distributors, or reseller of the goods or services to be sold.” Appx1416-

1422 (78:11-84:12); Appx0009. It found “as a matter of fact that the written

description [of the ’399 Patent] treats ‘goods’ and ‘product’ interchangeably, and it

distinguished them [from] ‘services.’” Appx1358 (20:8-14). Further, the district

court indicated that it was “very, very clear from the provisional application at




                                         -9-
            Case: 23-1176     Document: 27      Page: 19   Filed: 08/11/2023




multiple pages 8, 9, 10, and 11” that goods and products are interchangeable and

also distinct from services. Id.

      Applying Phillips, the district court properly considered the claim language,

in view of the specification and the file history, and determined that the applicant

intentionally chose to describe “merchants” in such a way that clearly excluded

services:

             We start with the claim language. There’s no reference to
             services. And then we turn, then, to the written description,
             and there are, again, no references to a merchant providing
             a service. Instead, merchants are always discussed with
             respect to products or goods.

Appx1418-1419 (80:24-81:3).

             While the written description references products and
             goods numerous times, it never suggests that products or
             goods encompass services. Instead, its discussion of
             products suggests that products are physical items.

Appx1419 (81:23-82:2).

             And as I’ve outlined and identified before, and as
             defendants’ briefing and its slides today make very clear,
             that “product” and “goods” were being used
             interchangeably throughout the provisional application,
             and I think also in the written description.

Appx1421 (83:4-11).

      The district court also correctly relied on MPHJ Technology Investments, LLC

v. Ricoh Americas Corporation, 847 F.3d 1363 (Fed. Cir. 2017), in concluding that




                                         -10-
          Case: 23-1176     Document: 27       Page: 20   Filed: 08/11/2023




the intentional deletion of the word “services” from the provisional application

supports the court’s construction:

             And so we have, therefore, a deletion from the written
             description of a term that was in the provisional
             application. And I think the MPHJ Tech case favors the
             defendant in this respect and says that that deletion
             contributes to an understanding of what the scope and
             meaning of the final application, the final written
             description reflects.

Appx1421 (83:9-15).

      On the extrinsic evidence, the district court evaluated the various dictionary

definitions provided by both parties, ultimately crediting Appellees’ dictionary

definitions of “merchants”—the disputed claim term—over DDR’s definitions of

“products,” a term that does not appear in the patent’s claims. Appx1421-1422

(83:16-84:11). Appellees’ definitions of “merchants” were consistent with the

intrinsic evidence, making clear to the district court that “merchants sell goods.

That’s what merchants do.” Appx1422 (84:3-6).

      In addition to construing the term “merchant,” the district court also construed

the term “commerce object.” Claim 1 describes a relationship between commerce

objects and merchants. Similar to “merchants,” the main dispute between the parties

in construing commerce object was “whether ‘services’ are included.” Appx1424

(86:2-5). The district court construed “commerce object” as “a product, a product

category, a catalog, or an indication that a product, product category, or catalog



                                        -11-
            Case: 23-1176    Document: 27      Page: 21   Filed: 08/11/2023




should be chosen dynamically” and rejected DDR’s proposed construction of “a

product (goods or services), a product category, a catalog, or an indication that a

product (goods or services), product category, or catalog should be chosen

dynamically.” Appx1424 (86:6-17); Appx1473 (135:1-9); Appx0009; Appx0609.

      For this term, the district court followed its reasoning for construing the term

“merchant” and explained that DDR’s construction improperly attempted to “import

the words ‘or services’” into the claims. Appx1416-1422 (78:11-84:12); Appx1424

(86:6-10) (Q: “So then, you agree. I mean, I’ve effectively construed [commerce

object]. You don’t require any further elucidation or articulation from me about why

I would go with the defendants on that; is that fair?”; A: “That is exactly fair, Your

Honor.”).

      After the claim construction hearing, the district court issued a written order,

and provided the following constructions:

             1.    The term merchant means “producers, distributors, or resellers of
             goods to be sold.”

             2.     The term “commerce object” means “a product, a product
             category, a catalog, or an indication that a product, product category,
             or catalog should be chosen dynamically.”

Appx0009.

      In stipulating to noninfringement, the parties’ agreed that affirmance of either

construction would be case dispositive for Appellees. Appx0005 (“The parties agree

that the Accused Instrumentalities do not infringe the asserted claims of the ’399


                                        -12-
           Case: 23-1176     Document: 27       Page: 22   Filed: 08/11/2023




Patent under the Court’s claim constructions and that the Court’s construction of

either the term “merchants” or the term “commerce object” is case-dispositive in

[Appellees’] favor on the issue of infringement.”). The parties agreed that the district

court’s construction of either the term “merchants” or the term “commerce object”

precludes infringement. Appx0003-0005.




                                         -13-
           Case: 23-1176     Document: 27        Page: 23   Filed: 08/11/2023




                           SUMMARY OF ARGUMENT

      The district court correctly construed the terms “merchants” and “commerce

object” based on its analysis of the full intrinsic record, holding that “merchants” are

not purveyors of services and a “commerce object” does not include services.

      DDR’s arguments that lexicography applies here to justify departure from the

plain and ordinary meaning of these terms is unavailing. Although the provisional

application from which the ’399 Patent stems states that merchants may provide

services, the applicant intentionally departed from this statement in the

nonprovisional that issued as the ’399 Patent, specifically deleting services from the

definition and descriptions of “merchant” in the ’399 Patent. That deletion is

significant under this Court’s precedent. Adopting DDR’s construction would

divorce the language in the provisional from the entirety of the intrinsic record,

including the written description of the ’399 Patent, which clearly ascribes a

different meaning to “merchants” than the provisional.

      When considering the full record, including the intrinsic and extrinsic

evidence, the district court properly determined that neither disputed claim term

included “services,” but, instead, both are directed towards the products or goods

that were repeatedly described as being associated with merchants throughout the

written description of the ’399 Patent.




                                          -14-
           Case: 23-1176     Document: 27       Page: 24   Filed: 08/11/2023




      As a result, the district court properly determined that the words “products”

and “goods” are used interchangeably in the ’399 Patent and are also distinguished

from “services.” Applying its reasoning, the district court construed the term

“merchants” as not purveyors of services and “commerce object,” the product a

merchant purveys, as a good and not a service. To the extent the district court made

factual findings on these distinctions in the written description, they are not clearly

erroneous. This Court should therefore affirm.

                            STANDARD OF REVIEW

      Claim construction determinations based on the intrinsic record are reviewed

by this Court de novo. See Teva Pharms. USA, Inc. v. Sandoz, Inc., 574 U.S. 318,

333 (2015). Claim construction may involve subsidiary issues of fact, which this

Court reviews for clear error. Id. at 324. It is generally understood that when “the

district court reviews only evidence intrinsic to the patent (the patent claims and

specifications, along with the patent’s prosecution history), the judge’s

determination will amount solely to a determination of law;” however, in some

cases, “the district court will need to look beyond the patent’s intrinsic evidence and

to consult extrinsic evidence in order to understand, for example, the background

science or the meaning of a term in the relevant art during the relevant time period.”

Id. at 331. These findings of fact are reviewed for clear error. See id. at 332.




                                         -15-
           Case: 23-1176    Document: 27       Page: 25   Filed: 08/11/2023




                                  ARGUMENT

      I.      The Applicant Acted as Its Own Lexicographer in Redefining the
              Term “Merchants” in the Nonprovisional and That Redefinition
              Controls

      When viewed in the context of the full intrinsic record, Appellees’ proposed

construction emerges as the clear and intentional definition of the term “merchants.”

For lexicography to apply, “a patentee must clearly set forth a definition of the

disputed claim term” and must “clearly express an intent to redefine the term.” See

Thorner v. Sony Comput. Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012)

(internal quotations omitted). The ’399 Patent unequivocally states that “Merchants

are the producers, distributors, or resellers of the goods to be sold.” Appx0548

(22:17-19).

      The applicant clearly and explicitly indicated its intent to define “merchants”

as purveyors of goods, not services, when it deleted the prior reference to services

from the nonprovisional’s definition of merchants, a clear and specific departure

from the definition in the provisional application. An applicant’s intentional choice

in a nonprovisional application to delete language from the provisional application

informs the proper construction. See MPHJ, 847 F.3d at 1369. In MPHJ, this Court

considered the construction of a phrase described inconsistently between the

provisional and nonprovisional applications and found the modified description in

the later filed nonprovisional to be controlling. The MPHJ provisional application



                                        -16-
           Case: 23-1176      Document: 27       Page: 26   Filed: 08/11/2023




described a copying process that could be completed in a single step. Id. at 1367-68.

In contrast, the MPHJ nonprovisional omitted the single-step requirement,

specifically making it optional. Id. The patent owner in MPHJ argued that the

“omitted sections were not explicitly disclaimed” and could be “properly relied on

to explain and limit the claims, even if the passages do not appear in the issued

patent.” Id. This Court disagreed, reasoning that “it is the deletion from the ’798

provisional application that contributes understanding of the intended scope of the

final application.” Id. at 1369. The “removal of these limiting clauses,” according to

the Court, was “significant” to a person of ordinary skill in the art. Id.

      Following the MPHJ decision, district courts routinely look to differences

between the provisional and the nonprovisional applications in construing claim

terms. See, e.g., DNA Genotek Inc. v. Spectrum Solutions L.L.C., No. 3:21-CV-

00516, 2022 WL 17331255, at *20 (S.D. Cal. 2022) (applying MPHJ in construing

term in nonprovisional application narrowly based, in part, on deletion of explicit

disclosure from the provisional); Snyders Heart Valve LLC v. St. Jude Med. S.C.,

Inc., No. 4:16-cv-00812ALM-KPK, 2017 WL 4867620, at *6 (E.D. Tex. 2017)

(applying MPHJ in noting that “even where the specification incorporates in full

the . . . provisional application, it is the deletion from the . . . [p]rovisional

application that contributes understanding of the intended scope of the final

application”) (internal quotations omitted). Consistent with MPHJ and its progeny,



                                          -17-
           Case: 23-1176     Document: 27       Page: 27   Filed: 08/11/2023




where the applicant intentionally deleted services from its description of

“merchants,” the construction of “merchants” should only include goods, consistent

with its plain and ordinary meaning (see infra Argument § III).

      The present case is no different. Like MPHJ, a person of ordinary skill would

understand that the applicant’s intentional deletion of “services” from the

provisional was a significant choice that reasonably informed the meaning of the

term “merchant” to a person of ordinary skill. That deletion in the nonprovisional

confirms the district court’s construction. Indeed, the Court even recently confirmed

that the incorporation by reference of, for example, one patent into another “does not

convert the invention of the incorporated patent into the invention of the host patent.”

Finjan LLC v. ESET, LLC, 51 F.4th 1377, 1382 (Fed. Cir. 2022). “Rather, the

disclosure of the host patent provides context to determine what impact, if any, a

patent incorporated by reference will have on construction of the host patent claims.”

Id. That is precisely the analysis applied by the district court, when it considered the

full “context” of the provisional and nonprovisional disclosures to determine “what

impact” the deletion in the nonprovisional had on the construction of the claims. See

id.

      DDR does not address Finjan and its attempts to distinguish MPHJ have no

merit. Br. 18-19. First, whether the applications in MPHJ contained an “express” or

lexicographic definition (id. at 18) is irrelevant. The relevant inquiry was, as DDR



                                         -18-
           Case: 23-1176     Document: 27       Page: 28   Filed: 08/11/2023




implicitly acknowledges, the proper scope of the claim in view of the “complete filed

specification.” Id.

      Second, DDR wrongly distinguishes MPHJ as failing to address whether the

nonprovisional disclaimed the scope of the provisional. Id. The Court, however,

specifically addressed the patent owner’s arguments that the statements in the

provisional “were not explicitly disclaimed, and therefore that they are part of the

prosecution history and are properly relied on to explain and limit the claims, even

if the passages do not appear in the issued patent.” MPHJ, 847 F.3d at 1368.

      Third, DDR tries to confine MPHJ to addressing only “whether the complete

filed specification, including the incorporated provisional, broadened the scope of

the provisional specification.” Br. 18. But the Court’s holding did not turn on

whether the deletion broadened or narrowed claim scope. Instead, it held that “it is

the deletion from the ’798 Provisional application that contributes understanding of

the intended scope of the final application” and “a person of skill in this field would

deem the removal of these limiting clauses to be significant.” MPHJ, 847 F.3d at

1368-69. The district court applied that same standard here in determining the

intended scope of “merchants.”

      Finally, DDR       rationalizes   that    MPHJ’s     logic   results   in   “either

embodiment”—the disclosure from the provisional (goods and services) or the

disclosure from the nonprovisional (just goods)—falling within the scope of



                                         -19-
            Case: 23-1176    Document: 27       Page: 29   Filed: 08/11/2023




“merchants.” Br. 18-19. But DDR mischaracterizes the intrinsic record. “Services”

are not omitted from a “one preferred embodiment” (id.); rather, “services” were

intentionally removed from the nonprovisional. The written description of the ’399

Patent never discusses “services” in the context of what “merchants” purvey. More

importantly, DDR’s application of MPHJ’s holding to this case is wrong. As DDR

would have it, when a provisional application defines a term that is later redefined

to mean something different, the patent owner should be able to select either

definition. This outcome runs opposite to the result in MPHJ and the clarity required

by a patentee to invoke lexicography.

      Applying the proper interpretation of MPHJ to this case, the explicit removal

of “services” is “significant” and shows the applicant clearly and explicitly clarified

that the term “merchants” has the narrower interpretation than the provisional.

      II.    The District Court Properly Found That DDR Did Not Establish
             Lexicography for Its Proposed Construction

      Rather than consider the full intrinsic record, DDR myopically focuses on the

provisional to argue lexicography. In doing so, DDR ignores the bulk of the intrinsic

record that defines and describes the same term as something entirely different. For

lexicography to prevail, the patentee must “clearly express an intent” to define the

term in view of the entirety of the prosecution history. Thorner, 669 F.3d at 1365-

66; In re Paulsen, 30 F.3d 1475, 1480 (Fed. Cir. 1994) (“Although an inventor is

indeed free to define the specific terms used to describe his or her invention, this


                                         -20-
           Case: 23-1176     Document: 27       Page: 30   Filed: 08/11/2023




must be done with reasonable clarity, deliberateness, and precision.”). DDR cannot

demonstrate the required clarity, deliberateness, and precision by looking solely at

the provisional when the applicant abandoned that definition in the nonprovisional.

Doing so is legally erroneous, as the standard for lexicography requires both “the

specification and prosecution history to unmistakably manifest” that definition other

than the plain and ordinary meaning. See Shire Dev’t, LLC v. Watson Pharms., Inc.,

848 F.3d 981, 984 (Fed. Cir. 2017) (internal quotations omitted); see also Jack

Guttman, Inc. v. Kopykake Enter., Inc., 302 F.3d 1352, 1361 (Fed. Cir. 2002)

(“Because the patentee provided an explicit definition of ‘photocopy machine’ in the

specification, and because no other intrinsic evidence casts doubt on that definition,

the patentee’s definition controls.”). DDR’s lexicography argument requires this

Court to ignore the portions of the specification and the prosecution history that

reflect an unmistakable intent to redefine the term. That redefinition in the

nonprovisional gives rise to the applicant’s clearly expressed intent to delete services

from the definition and redefine the term.

      Despite the facial inconsistency between the provisional and nonprovisional

applications, DDR claims that its definition from the provisional should prevail. Br.

16. That is wrong for several reasons. First, while DDR argues it acted as a

lexicographer in the provisional in defining the term “merchant,” DDR’s proposed

construction of “merchant” appears nowhere in the provisional. The provisional



                                         -21-
           Case: 23-1176      Document: 27       Page: 31   Filed: 08/11/2023




states that “merchants [are] defined as producers, manufacturers, and select

distributors of products or services.” Appx0876. DDR refers to this description from

the provisional as a “special definition given to a claim term by the patentee.” Br. 13.

However, this “special” definition is not what DDR proposed as its construction for

the term “merchants.” DDR’s proposed construction was “producers, distributors,

or resellers of the goods or services to be sold” to the district court. Appx0580. This

interpretation of merchants appears nowhere in either the provisional or

nonprovisional application. A construction that was never set forth by the applicant

as definitional in the written description cannot be said to clearly express an intent

to define the term as such. Thorner, 669 F.3d at 1365-66 (“To act as its own

lexicographer, a patentee must clearly set forth a definition of the disputed claim

term . . . ”) (internal quotations omitted).

      Second, DDR cites no authority requiring that a definition or other evidence

in a provisional be favored over that in the nonprovisional. Br. 11-19. DDR also

provides no authority for why a patent owner should be allowed to pick and choose

which definition in the intrinsic record carries more weight. DDR also identifies no

authority for why the definition of “merchants” in the written description should be

ignored and demoted over a different definition in the provisional. Nor could it

because DDR’s arguments run contrary to established law. A single sentence in the

provisional does not override the otherwise clear intent of the applicant in the



                                          -22-
          Case: 23-1176      Document: 27      Page: 32   Filed: 08/11/2023




nonprovisional to describe merchants as purveyors of goods, not services. MPHJ,

847 F.3d at 1369; cf. Finjan, 51 F.4th at 1382 (“incorporation by reference does not

convert the invention of the incorporated patent into the invention of the host

patent”). DDR’s insistence that the provisional’s definition “governs” (Br. 11-12) is

wrong when “other intrinsic evidence casts doubt on that definition.” See Jack

Guttman, 302 F.3d at 1361.

      Third, DDR’s attempt to use statements from an IPR proceeding to support its

position is both misleading and irrelevant. DDR incorrectly suggests that the PTAB

compared the disclosure of “merchants” in the provisional and nonprovisional

applications and found the description in the provisional more “definitional.” See

Br. 14-15. This assertion is neither true nor relevant. The PTAB did not opine on

whether the disclosure in the provisional or nonprovisional was more “definitional.”

It only found that, under the broadest reasonable interpretation standard, the

statement in the nonprovisional alone did not evidence sufficient intent to invoke

lexicography. Appx0749. The PTAB never considered the applicant’s shifting

description of merchants under the Phillips standard, as required here. And under a

broadest reasonable interpretation, the PTAB also pointed to an agreement with

nonparties in a previous litigation on the construction of “merchants” (Appx0749;

Appx0707), which has no relevance in this Court under the Phillips standard.




                                        -23-
             Case: 23-1176   Document: 27       Page: 33   Filed: 08/11/2023




      Fourth, DDR argues that a parent application to the ’399 Patent uses the terms

“products and services” in a claim limitation, and thus, the specification for the ’399

Patent must include “services” in the scope of the ’399 claims. Br. 19. But the parent

application’s claim language, which specifically recites “products and services”

(which the ’399 Patent does not), only reinforces that “services” are distinct from

goods/products and neither presumptively included in the word “products” nor

purveyed by “merchants.”

      DDR concedes that its proposed construction for the term “merchants” relies

exclusively on the lexicography set forth in the provisional. Br. 12-13. But the

district court properly determined that DDR failed to meet the exacting standard

required to apply the provisional’s definition to the term “merchant,” as it is used in

the ’399 Patent.

      III.    The District Court’s Construction Is Also Consistent with the Plain
              and Ordinary Meaning of the Term in Light of Both the Intrinsic
              and Extrinsic Evidence

      While the applicant’s intent to delete services from the definition of

“merchants” in the nonprovisional is unambiguous, to the extent the Court finds any

ambiguity, Appellees’ construction is consistent with the plain and ordinary meaning

in light of intrinsic and extrinsic record. See Thorner, 669 F.3d at 1367. The intrinsic

and extrinsic evidence confirms that the plain and ordinary meaning of “merchants”

are purveyors of goods and not services.



                                         -24-
           Case: 23-1176      Document: 27       Page: 34   Filed: 08/11/2023




             A.     The Intrinsic Evidence Confirms That “Merchants” Are
                    Purveyors of Goods or Products, Not Services

      The plain and ordinary meaning of the term “merchants” under Phillips is

“producers, distributors, or resellers of the goods to be sold,” not services, consistent

with the district court’s correct construction. Claim terms are generally given their

plain and ordinary meaning, which is the meaning one of ordinary skill in the art

would ascribe to a term when read in the context of the claim, the specification, and

the prosecution history. See Phillips v. AWH Corp., 415 F.3d 1303, 1313-14 (Fed.

Cir. 2005) (en banc).

      Claim construction begins, as always, by looking at the claim language. Id.

On its face, claim 1 of the ’399 Patent recites that a “commerce object [is] associated

with a buying opportunity of a selected one of a plurality of merchants.” Appx550

(Claim 1). There is no reference to products, goods, or services in the claims—only

commerce objects. Appx0550-0552 (26:43-30:28). Thus, the claim language itself

does not explicitly illuminate whether a merchant is a purveyor of goods, services,

or both—only that merchants provide a type of object.

      The specification, however, supplies that clarity. In the description of the

invention, under the heading “Merchants,” the specification sets forth a definition of

merchants as “producers, distributors, or resellers of the goods to be sold . . . .”

Appx0548 (22:15-19). This express definition of the term “merchants” is not




                                          -25-
           Case: 23-1176     Document: 27       Page: 35   Filed: 08/11/2023




ambiguous—it makes apparent that the inventor intended to define merchants as

purveyors of goods, not services.

      That interpretation is reinforced by every discussion of merchants in the

specification. For example, the specification describes the responsibilities of a

merchant are to “maintain products and arrange them into catalogs” (Appx0540

(6:63-64)), or to “[m]aintain an up-to-date catalog within the system, including all

products that are available for sale in storefronts serviced by the outsource provider”

Appx0548 (22:19-22). The specification further discusses shipping ordered items to

customers—further emphasizing that “merchants” only sell goods or products that

can be shipped, and not services. Appx0546 (17:4-8) (“Customers will be able to

browse a merchant’s catalogue and place items in their shopping cart 2212. When

the customer is ready to checkout 2260, the system will acquire payment information

2262 and shipping information 2264 from the user”); see also Appx0509 (Abstract);

Appx0518 (Fig. 7); Appx0539 (3:1-16); Appx0540-0542 (6:62-9:45); Appx0543

(12:19-23); Appx0544-0546 (13:3-17:59); Appx0547 (20:13-44); Appx0548

(21:18-22:67); Appx0549-0550 (23:24-24:56, 24:58-26:40). When the specification

does refer to “services,” it is limited to the context of computer or e-commerce

support “services” running on computer servers or “customer service” functions.

See, e.g., Appx0548 (21:18-25, 22:33-34).




                                         -26-
           Case: 23-1176     Document: 27       Page: 36   Filed: 08/11/2023




      Indeed, all discussions of the types of objects provided by the merchants in

the specification confirm that they are “physical items,” which can be “returned” or

“shipped” or that have a specific “size and color” typical of goods or products.

Appx0540 (6:64-67); Appx0542 (9:6-10); Appx0550 (26:21-22); Appx1419-1420

(81:4-82:16). As the district court noted, a person of ordinary skill in the art in 1998

would understand that services do not have a size or color, and services cannot be

shipped. Appx1420 (82:14-82:16) (“obviously, we don’t think of services having a

size, color, et cetera, and we don’t think of services being shipped”).

      Additionally, in determining the proper construction of the term “merchants,”

the district court made a finding that the words “goods” and “products” in the

specification were used interchangeably, and the specification distinguished them

from “services.” Appx1358 (20:8-14). Its decision is supported by the fact that the

provisional consistently describes services as distinct and apart from both “goods”

and “products,” indicating the applicant’s understanding that goods and products do

not include services. Appx0876. As an example, the provisional describes the ability

to “cross-sell additional products and services to customers” and that using an

outsource provider can “increase the gross margin on their goods and services.”

Appx0875-0876; see also Appx0877. The provisional treats goods and products

interchangeably, but in every instance, it distinguishes “services” from those goods

and products. The district court characterized this as a “finding of fact.” Appx1347.



                                         -27-
           Case: 23-1176      Document: 27       Page: 37   Filed: 08/11/2023




      To this point, DDR articulates no specific argument that this factual finding

is clearly erroneous. Br. 21. Rather, DDR simply dismisses it as a “reading of the

patent specification,” claiming that, as such, it should be reviewed de novo. Id. While

the ultimate question of claim construction—here, the construction of the claim

terms “merchants” and “commerce object”—is reviewed de novo, that question may

have “evidentiary underpinnings” subject to clear error review. Teva, 574 U.S. at

326-27. Here, the words “good,” “product,” and “service” are not claim terms, and

as a result, the court was not tasked with the ultimate question of the proper

construction of those words. Rather, the court considered the proper construction of

the claim terms “merchants” and “commerce object” in light of the intrinsic record.

Part of that analysis considered “the meaning of terms in the written description,”

including “products,” “goods,” and “services,” and the interplay of those terms as

used. Appx1358 (20:1-2). With that proper rubric in mind, DDR fails to argue that

the district court’s findings were clearly erroneous.3

      In any event, regardless of the standard of review applied, the district court’s

findings are correct. The district court found that the “written description treats

‘goods’ and ‘products’ interchangeably, and it distinguished them from ‘services.’”


3
  DDR should not be permitted to raise new arguments establishing why the district
court’s findings are clearly erroneous in its reply. Becton Dickinson & Co. v. C.R.
Bard, Inc., 922 F.2d 792, 800 (Fed. Cir. 1990) (“[W]e see no reason to depart from
the sound practice that an issue not raised by an appellant in its opening brief . . . is
waived.”).

                                          -28-
           Case: 23-1176     Document: 27       Page: 38   Filed: 08/11/2023




Appx1358. That interpretation of the written description is correct and has no clear

error. DDR in fact conceded that if “products” included “services,” then the phrase

“products or services” in the provisional would have been redundant. Appx1345

(7:25-8:5). DDR also conceded that the use of the disjunctive in the provisional

(“products or services”) further suggests that “services is not encompassed within

the ordinary meaning of products.” Appx1346 (8:1-9:24). Thus, on this record, the

district court’s finding that “goods” and “products” are interchangeable and distinct

from “services” is both correct as a matter of law and not clearly erroneous.

Appx1358 (20:8-14).

      As a result, even if the court mischaracterized its finding as one of fact, that

error was harmless. See 28 U.S.C. § 2111 (directing appellate courts to review cases

without regard to errors that do not affect parties’ “substantial rights”); see also

United Cannabis Corp. v. Pure Hemp Collective Inc., No. 2022-1363, 2023 WL

3295467, at *3 (Fed. Cir. 2023) (citing Bridges v. Wilson, 996 F.3d 1094, 1099 (10th

Cir. 2021) (“The appellate court exercises common sense, trying to make a realistic

assessment of the practical likelihood that the result in the district court would have

been different had the error not occurred.”)). The district court would have reached

the same conclusion, regardless of whether its finding was one of law or fact, and

regardless of which standard of review applies, that conclusion is correct.




                                         -29-
           Case: 23-1176     Document: 27       Page: 39   Filed: 08/11/2023




              B.    The Extrinsic Evidence Supports the District Court’s
                    Construction of “Merchants”

      The extrinsic evidence further supports the plain and ordinary meaning

reflected in the intrinsic record and the district court’s construction. Dictionary

definitions from the relevant time period establish that, consistent with the intrinsic

record, “merchants” dealt in goods or commodities, not services. For example,

Appellees’ definitions of the term “merchants” consisted of the following:

           “One who buys goods wholesale and sells them retail for profit”
            (Appx1201);

           “a person whose business is buying and selling goods for profit”
            (Appx1204-1205);

              “a person who buys or sells commodities for profit; dealer; trader”
              (Appx1210);

              “a buyer and seller of commodities for profit: TRADER” (Appx1214);
              and

           “one who buys and sells commodities” (Appx1218).

      DDR did not provide any dictionary definitions on the meaning of the term

“merchants” to refute the definitions provided by Appellees. Instead, DDR offered

definitions of a word (“product”) that is not claimed. In addition, some of the

definitions of “product” offered by DDR dated from 2022, more than 20 years after

the relevant time period. Appx0612-0613. And DDR offered miscellaneous and

cherry-picked documents from around the relevant time period—instead of

dictionary definitions—that use the term “merchants” or “merchandisers” consistent

                                         -30-
           Case: 23-1176     Document: 27      Page: 40   Filed: 08/11/2023




with DDR’s preferred interpretation. See Br. 24-25 (citing Appx0914, Appx0927,

Appx0932, Appx0924).4

      In evaluating the parties’ extrinsic evidence, the district court acknowledged

that “there’s no question that ‘products’ in certain contexts can have a meaning that

could possibly include services.” Appx1421. One such example the court identified,

the gross national product, includes the value of services. Appx1349. But the district

court rightly explained that “the problem for [DDR] is that [DDR] said it is the

ordinary meaning,” but when thinking of the plain and ordinary meaning, the district

court concluded that a person of ordinary skill would think of “manufacturer

product,” not “gross national product.” Appx1349 (11:20-25). The ordinary meaning

of the word “products,” as the district court put it, “are something solid; they are

something that has substance.” Appx1345; Appx1349. That interpretation is

consistent with Appellees’ dictionary definitions. And DDR identifies no error in

this commonsense interpretation. See AlterWAN, Inc. v. Amazon.com, Inc., 63 F.4th




4
 Moreover, despite DDR’s assertion (Br. 23 n.4), Priceline’s use of the term
“product” in a press release is of little importance to the claim construction
analysis. Vasudevan Software, Inc. v. MicroStrategy, Inc., 782 F.3d 671, 678 (Fed.
Cir. 2015) (“Language used in marketing materials directed to potential customers
can mean something quite different from the language used in a patent directed to
persons skilled in the art.”); SRI Int’l v. Matsushita Elec. Corp. of Am., 775 F.2d
1107, 1118 (Fed. Cir. 1985) (en banc) (“A claim is construed in the light of the
claim language, the other claims, the prior art, the prosecution history, and the
specification, not in light of the accused device.”) (emphasis in original).

                                        -31-
            Case: 23-1176    Document: 27       Page: 41   Filed: 08/11/2023




18, 24 (Fed. Cir. 2023) (explaining that courts are not required to “depart from

common sense in claim construction”).

      The district court also concluded that DDR “made no effort to tie [its

proposed] definition with any evidence to the artisan of ordinary skill’s perspective.”

Appx1421 (83:21-24). DDR does not challenge that finding on appeal and should

not be permitted to do so in reply. The district court did not clearly err in weighing

the parties’ extrinsic evidence and finding that Appellees’ “numerous definitions

from dictionaries” outweighed DDR’s evidence. See Appx1421-1422 (83:16-84:11).

Thus, the district court did not clearly err in rejecting DDR’s interpretation as

inconsistent with the term’s plain and ordinary meaning. Id.

      IV.    The District Court’s Construction of the Term “Commerce
             Object” Should Also and Separately Be Affirmed

      Despite DDR providing minimal attention to the term “commerce object” (Br.

25-27), affirming the district court’s construction of this term is equally case

dispositive. On that part, the parties agreed in their stipulation of noninfringement.

Appx0028. As a result, the district court’s proper construction of the term

“commerce object” supplies an independent basis on which the Court can affirm,

without reaching the construction of “merchants.”

      The district court’s construction of “commerce object” is correct. The term

“commerce object” has no plain and ordinary meaning to a person of ordinary skill

in the art. And the claims themselves do not refer to “goods” or “products” or


                                         -32-
             Case: 23-1176     Document: 27       Page: 42   Filed: 08/11/2023




“services.” Thus, the district court properly turned to the specification to inform its

construction. The court’s construction for “commerce object” finds its support in the

specification, which defines “commerce object” in terms of a “product” (a “good”),

not a “service”:

      Such a commerce object will be a product, a product category, a catalog or an
      indication that a product, product category or catalog should be chosen
      dynamically.

Appx0545 (15:17-20). This definitional phrase clearly evidences the applicant’s

intent to define “commerce object,” and that definition makes no reference to

services.

      Consistent with that definition, within the e-commerce environment described

in the ’399 Patent, the specification describes that “commerce objects” are what

“merchants” sell:

             “(ii) wherein each of the first web pages displays at least one active link
              associated with a commerce object associated with a buying
              opportunity of a selected one of a plurality of merchants” Appx0550
              (26:53-56); and

             “Such information could include information about the e-commerce
              outsource provider 2222, information about the merchant offering the
              current commerce object 2224, information about an involved party’s
              privacy policy 2226, or information about an involved party’s security
              policy 2228.” Appx0545-0546 (16:65-17:3).

As discussed above, “merchants” are purveyors of goods, not services. See supra

Argument §§ I-III. And the district court correctly found that the ’399 Patent uses

“products” and “goods” interchangeably and distinct from “services.” Appx1358

                                           -33-
           Case: 23-1176     Document: 27       Page: 43   Filed: 08/11/2023




(20:8-14). It follows then that a “commerce object,” the product a “merchant”

purveys, is a good, not a service. As a result, the district court’s construction—which

rejected DDR’s attempt to read “services” into the claim language—was correct.

       Instead of beginning, as it must, with the intrinsic record, DDR jumps to the

extrinsic evidence to improperly import “services” into the construction of

“commerce object.” Appx0609 (DDR’s proposed construction for “commerce

object”: “a product (goods or services), a product category, a catalog, or an

indication that a product (goods or services), product category, or catalog should be

chosen dynamically”). Appellees’ previous evidence and arguments concerning the

construction of “merchants” and the extrinsic evidence apply equally to “commerce

object.” See supra Argument §§ I-III.

       In addition, Appellees’ independent evidence for “commerce object” is

consistent with the intrinsic record and further emphasizes that a “commerce object”

does not include services. Appellees’ dictionary definitions for the term “object” all

connote something material, tangible, and physically perceptible. Appx1247

(“anything that is visible or tangible and is stable in form”); Appx1252 (“a discrete

visible or tangible thing”). A product or good meets these definitions; a service does

not.

       DDR’s extrinsic evidence, on the other hand, is not helpful. DDR did not

provide a dictionary definition for “commerce object” or “object” but instead



                                         -34-
            Case: 23-1176   Document: 27      Page: 44   Filed: 08/11/2023




provided dictionary definitions for “product,” a term not at issue for construction.

Appx0817-0821; Appx0823-0827; Appx0829. Therefore, only Appellees’ extrinsic

evidence is relevant and reaffirms that a “commerce object” does not include

services.

            CONCLUSION AND STATEMENT OF RELIEF SOUGHT

      For the foregoing reasons, this Court should affirm the district court’s claim

constructions for either, or both, terms “merchants” and “commerce object” and the

judgment of noninfringement.




                                       -35-
        Case: 23-1176    Document: 27     Page: 45   Filed: 08/11/2023




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                                   -36-
           Case: 23-1176     Document: 27      Page: 46   Filed: 08/11/2023



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                  ;1>ÿ913@7>0CÿWdWdWeWWWWWWWÿ<4=>CE
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                  WWWWWWWWWWÿ@910Cÿ4Pÿ80B8E
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           Case: 23-1176      Document: 27      Page: 47    Filed: 08/11/2023




                           CERTIFICATE OF SERVICE

      I hereby certify that on August 11, 2023, this CORRECTED JOINT

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 Dated: August 11, 2023                     /s/ Jeremy J. Taylor
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